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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )   No.     1:21-cr-437 (APM)
                                                )
MARK GRODS,                                     )
                                                )
                        Defendant.              )

                                  JOINT STATUS REPORT

       The parties report that Defendant Mark Grods continues to cooperate with the government.

We request the opportunity to file a further status report by December 17, 2021.


                                     Respectfully submitted,

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